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Court-Appointed Temporary Receiver for Link Motion Inc.
Pursuant to The Honorable Judge Victor Marrero of the

Rob ert W S eiden United States District Court, Southern District of New York
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VIA ECF

Hon. Victor Marrero

United States Courthouse
500 Pearl Street

New York, New York 10007

January 12, 2023
Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF (S.D.N.Y.)

Dear Judge Marrero,

I write regarding Your Honor’s January 12, 2023 order (the “Deposit Order”; ECF 384) requiring
Link Motion Inc. (“LEM”) to “ensure that the “Receivership Account [] maintains a minimum
balance of $100,000.00” and that LKM “immediately transfer sufficient funds to the Receivership
Account to allow the Receiver to timely pay the Maples Invoice.”! Deposit Order at 1. As the
Court recognized, the Maples Invoice “need[s| to be paid by January 31, 2023, for LKM to remain
in good standing under Cayman Islands’ law [].” /d. at 3.

As I previously communicated to the Court, although this Court placed LKM into receivership,
Defendant Vincent Shi (“Shi”) has frustrated the Receivership at every turn, including diverting
tens of millions of dollars from LKM’s bank accounts (ECF 30, at {7 3-10; ECF 50, at 3; ECF
239-1, at §F 8-9; ECF 239-6; see also ECF 161; and ECF 173). As a result of Shi’s actions, the
Receiver lacks access to any LKM funds and thus cannot cause LKM to replenish the Receivership
Account with a minimum of $100,000 or pay $3,219.51 to Maples as the Court ordered.

For the reasons discussed in the Receiver’s accounting brief, Shi should be held personally liable
for all unfunded liabilities of the Receivership (ECF 375, at 16-20). This should now also include
LKM’s $100,000 liability to the Receivership and the $3,219.51 balance in the Maples Invoice.
Further, in order to preserve the status quo (including keeping LKM in good standing) pending a
hearing on Shi’s personal liability for the unfunded liabilities of the Receivership, the Court
should order Shi to deposit $103,219.51 with the Receiver in order to facilitate payment to Maples
and fund the $100,000 minimum balance in the Receivership Account.

Please do not hesitate to contact me if your Honor wishes to discuss,this matter in further detail.

 

Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver
for Link Motion Inc.

ce: All Parties (via ECF)

 

' The term “Maples Invoice” refers to the invoice in the amount of $3,219.51 issued by Maples and Calder Services
(Europe) Limited, which is LKM’s registered agent in the Cayman Islands. See ECF 382.
